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            Exhibit A
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             Exhibit B
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                   https://mirror.mail.studentaid.gov/nl/jsp/m.jsp?c=%40LoJLjPW%2BVhtaPjSHPQ0MonBiVqPoWCjPnyA8m%2FA5nAw%3D

            You allege that University of Phoenix engaged in misconduct related to
            Admissions and Urgency to Enroll. This allegation fails for the following reason(s):
            Failure to State a Legal Claim.

            Your claim for relief on this basis therefore is denied.

                                          Allegation 3: Educational Services

            You allege that University of Phoenix engaged in misconduct related to
            Educational Services. This allegation fails for the following reason(s): Failure to
            State a Legal Claim.

            Your claim for relief on this basis therefore is denied.

                                          Allegation 4: Transferring Credits

            You allege that University of Phoenix engaged in misconduct related to
            Transferring Credits. This allegation fails for the following reason(s): Failure to
            State a Legal Claim.

            Your claim for relief on this basis therefore is denied.

                                 Allegation 5: Program Cost and Nature of Loans

            You allege that University of Phoenix engaged in misconduct related to Program
            Cost and Nature of Loans. This allegation fails for the following reason(s): Failure
            to State a Legal Claim.

            Your claim for relief on this basis therefore is denied.

                                        Allegation 6: Employment Prospects

            You allege that University of Phoenix engaged in misconduct related to
            Employment Prospects. This allegation fails for the following reason(s): Failure to
            State a Legal Claim.

            Your claim for relief on this basis therefore is denied.

            What evidence was considered in determining my application's ineligibility?

            We reviewed evidence provided by you and other borrowers who attended your
            school. Additionally, we considered evidence gathered from the following sources:

                1. Federal Trade Commission (FTC)
                2. IA Attorney General's Office
                3. Evidence obtained by the Department in conjunction with its regular
                   oversight activities
                4. Publicly available records relating to US ex rel. Green v. Univ. of Phoenix,
                   No. 14 001654 (N.D. Oh. Apr. 29, 2019)
                5. Materials compiled by non-profit group, Veterans Education Success (VES)
                6. Publicly available securities filings made by University of Phoenix's parent
                   company, Apollo Education Group

            What if I do not agree with this decision?


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                   https://mirror.mail.studentaid.gov/nl/jsp/m.jsp?c=%40LoJLjPW%2BVhtaPjSHPQ0MonBiVqPoWCjPnyA8m%2FA5nAw%3D

            If you disagree with this decision, you may ask ED to reconsider your application
            To submit a request for reconsideration, please send an email with the subject
            line "Request for Reconsideration                                                         to
            BorrowerDefense@ed.gov or mail your request to U.S. Department of Education,
            P.O. Box 1854, Monticello, KY 42633. In your Request for Reconsideration,
            please provide the following information:

                1. Which allegation(s) you believe that ED incorrectly decided;

                2. Why you believe that ED incorrectly decided your borrower defense to
                   repayment application; and

                3. Identify and provide any evidence that demonstrates why ED should
                   approve your borrower defense to repayment claim under the applicable law
                   set forth above.

            ED will not accept any Request for Reconsideration that includes new allegations.
            If you wish to assert allegations that were not included in your application, please
            see the following section. Additionally, your loans will not be placed into
            forbearance unless your request for reconsideration is accepted and your case is
            reopened. Failure to begin or resume repayment will result in collection activity,
            including administrative wage garnishment, offset of state and federal payments
            you may be owed, and litigation. For more information about the reconsideration
            process, please contact our borrower defense hotline at 1-855-279-6207 from 8
            a.m. to 8 p.m. Eastern time (ET) on Monday through Friday.

            Can I apply for borrower defense if I have additional claims?

            If you wish to file a new application regarding acts or omissions by the school
            other than those described in borrower defense application               please
            submit an application at StudentAid.gov/borrower-defense. In the new application,
            you should explain in the relevant section(s) the basis for any new borrower
            defense claim(s) and submit all supporting evidence.

            What should I do now?

            Because your borrower defense to repayment application was found to be
            ineligible, you are responsible for repayment of your loans. ED will notify your
            servicer(s) of the decision on your borrower defense to repayment application
            within the next 15 calendar days, and your servicer will contact you within the next
            30 to 60 calendar days to inform you of your loan balance. Further, if any loan
            balance remains, the loans will return to their status prior to the submission of
            your application. If your loans were in forbearance as a result of your borrower
            defense to repayment application, the servicer will remove those loans from
            forbearance. *See COVID-19 Note below.

            If your loans are in default and are currently in stopped collections, your loans will
            be removed from stopped collections. Failure to begin or resume repayment could
            result in collection activity such as administrative wage garnishment, offset of
            state and federal payments that you may be owed, and litigation. *See COVID-19
            Note below.

            While normally interest would not be waived for unsuccessful borrower defense
            applications, given the extended period of time it took ED to complete the review
            of this application, the Secretary is waiving any interest that accrued on your
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            Direct Loans from the date of the filing of your borrower defense application to the
            date of this notification. Your servicer will provide additional information in the
            coming months regarding the specific amount of interest adjusted. *See COVID-
            19 Note below.

            *COVID-19 Note: On March 27, 2020, the president signed the CARES Act,
            which, among other things, provides broad relief in response to the coronavirus
            disease 2019 (COVID-19) for federal student loan borrowers whose loans are
            owned by ED. For the period March 13, 2020, through September 30, 2020, the
            interest rate on the loans will be 0% and no payments will be required. During this
            same period for defaulted borrowers, all proactive collection activities, wage
            garnishments, and Treasury offsets will be stopped. Your federal loan servicer will
            answer any questions you have about your specific situation. In addition, Federal
            Student Aid's COVID-19 information page for students, borrowers, and parents is
            located at StudentAid.gov/coronavirus. Please visit the page regularly for
            updates.

            What if I have another pending borrower defense application?

            If you have additional pending borrower defense to repayment applications, this
            information applies to you:

                 If your loans associated with an additional borrower defense to repayment
                 application that is still pending are in forbearance or another status that
                 does not require you to make payments, your loans will remain in
                 forbearance or that other status. Similarly, if your loans associated with that
                 borrower defense application are in default and you are currently in stopped
                 collections, those loans will remain in stopped collections.

                 If you are unsure if you have additional pending applications, or if you would
                 like to check on the status of your loans associated with an additional
                 application, contact our borrower defense hotline at 1-855-279-6207 from 8
                 a.m. to 8 p.m. ET on Monday through Friday.

            ED offers a variety of loan repayment options, including the standard 10-year
            repayment plan, as well as extended repayment, graduated repayment, and
            income-driven repayment plans. For more information about student loan
            repayment options, visit StudentAid.gov/plans. If you have questions about the
            status of your loans or questions about repayment options, please contact your
            servicer(s). If you do not know the name of your federal loan servicer, you may go
            to StudentAid.gov to find your servicer and view your federal loan information.

            Sincerely,

            U.S. Department of Education
            Federal Student Aid




                                    830 First Street, NE, Washington, D.C. 20202
                                         StudentAid.gov/borrower-defense




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